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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                 *AMENDED CIVIL MINUTES


Date: 5/16/2023                        Time: 7:33 – 1:04 =           Judge: WILLIAM ALSUP
                                              4 Hours; 55 Minutes
Case No.: 20-cv-06754-WHA              Case Name: Sonos, Inc. v. Google, LLC
Deputy Clerk: Angella Meuleman Court Reporter: Marla Knox

 Attorneys for Plaintiff: Sean Sullivan, Alyssa Caridis, Dan Smith, Cole Richter, Rory Shea,
 Clem Roberts, Geoff Moss, David Grosby.

 Attorneys for Defendant: Sean Pak, Melissa Baily, Iman Lordgooei, James Judah, Jason
 Williams.


                                          PROCEEDINGS

 JURY TRIAL – Held.

                                            SUMMARY


 Witnesses: James Maleckowski. Christopher Chan (video deposition), Kenneth MacKay, Tavis
 MacLellan, Justin Pedro, Dan Schonfeld, Ph.D.

 Admitted Exhibits: TX6016, TX0128, TX0130, TX0138, TX0139, TX6454, TX2426, TX6000,
 TX3923.

 Plaintiff RESTS.


 *See Trial Log for further details.
